                   Case 20-15477             Doc          Filed 04/22/21        Entered 04/22/21 09:27:42                       Desc Main
                                                              Document          Page 1 of 5
 Fill in this information to identify the case:

 Debtor 1              Debra L. Brooks

 Debtor 2
 (Spouse, if filing)

 United States Bankruptcy Court for the : Northern                  District of Illinois
                                                                                (State)

 Case number           20-15477



 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                                  12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

 Name of creditor:                US Bank Trust National Association, Not In         Court claim no. (if known):         2-1
                                  Its Individual Capacity But Solely As Owner
                                  Trustee For VRMTG
                                  Asset Trust

 Last four digits of any number you               XXXXXX5838                         Date of payment change:
 use to identify the debtor’s account:                                               Must be at least 21 days after date of             6/1/2021
                                                                                     this notice

                                                                                     New total payment:
                                                                                     Principal, interest, and escrow, if any           $1,137.81

 Part 1:         Escrow Account Payment Adjustment

 1.     Will there be a change in the debtor’s escrow account payment?
         No
         Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
           for the change. If a statement is not attached, explain why: __________________________________________________________
           ___________________________________________________________________________________________________
            Current escrow payment:            $ 895.49                                      New escrow payment :          $ 893.83

 Part 2:         Mortgage Payment Adjustment

 2.     Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor’s
        variable-rate account?
         No
         Yes Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
           explain why: ___________________________________

              Current interest rate:                          %                              New interest rate:          %

              Current principal and interest payment:         $ _________                    New principal and interest payment:            $ __________

 Part 3:         Other Payment Change
 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
       No
       Yes. Attach a copy of any documents describing the basis for the change, such as repayment plan or loan modification agreement.
         (Court approval may be required before the payment change can take effect.)


            Reason for change: ____________________________________________________________________________


            Current mortgage payment:                $ _________                             New mortgage payment:             $ _________




Official Form 410S1                               Notice of Mortgage Payment Change                                                page 1
                Case 20-15477              Doc         Filed 04/22/21     Entered 04/22/21 09:27:42            Desc Main
                                                           Document       Page 2 of 5
  Debtor 1             Debra L. Brooks                                               Case number (if known) 20-15477
                      First Name Middle Name    Last Name


 Part 4:          Sign Here

 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

       I am the creditor.
       I am the creditor’s authorized agent

 I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
 knowledge, information, and reasonable belief.
  X    /s/Kinnera Bhoopal                                                               Date     4/21/2021
       Signature

 Print:          Kinnera                                             Bhoopal            Title    Authorized Agent for Creditor
                 First Name            Middle Name                   Last Name

 Company         McCalla Raymer Leibert Pierce, LLC

 Address         1544 Old Alabama Road
                 Number      Street
                 Roswell                       GA                       30076
                 City                          State                    ZIP Code

 Contact phone        (312) 348-9088 X5172                                              Email    Kinnera.Bhoopal@mccalla.com




Official Form 410S1                            Notice of Mortgage Payment Change                                   page 2
   Case 20-15477       Doc     Filed 04/22/21    Entered 04/22/21 09:27:42       Desc Main
                                   Document      Page 3 of 5



                                                     Bankruptcy Case No.: 20-15477
  In Re:                                             Chapter:             13
           Debra L. Brooks                           Judge:               Janet S. Baer

                                 CERTIFICATE OF SERVICE

      I, Kinnera Bhoopal, of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama Road,
Roswell, GA 30076, certify:

       That I am, and at all times hereinafter mentioned, was more than 18 years of age;

       That on the date below, I caused to be served a copy of the within NOTICE OF
MORTGAGE PAYMENT CHANGE filed in this bankruptcy matter on the following parties at
the addresses shown, by regular United States Mail, with proper postage affixed, unless another
manner of service is expressly indicated:

Debra L. Brooks
30 W 176 Calumet Avenue
Warrenville, IL 60555-1515

Joseph P Doyle                              (served via ECF Notification)
Law Office of Joseph P Doyle
105 S Roselle Rd
Suite 203
Schaumburg, IL 60193

Glenn B Stearns, Trustee                    (served via ECF Notification)
801 Warrenville Road Suite 650
Lisle, IL 60532

U.S. Trustee                                (served via ECF Notification)
Patrick S Layng
Office of the U.S. Trustee, Region 11
219 S Dearborn St
Room 873
Chicago, IL 60604

     I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECT.

 Executed on:     4/22/2021       By:    /s/Kinnera Bhoopal
                    (date)               Kinnera Bhoopal
                                         Authorized Agent for Creditor
Case 20-15477   Doc   Filed 04/22/21   Entered 04/22/21 09:27:42   Desc Main
                          Document     Page 4 of 5
Case 20-15477   Doc   Filed 04/22/21   Entered 04/22/21 09:27:42   Desc Main
                          Document     Page 5 of 5
